                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

In re:                                        §              Case No. 23-51742-cag
CINCH WIRELINE SERVICES, LLC                  §
              Debtor                          §              Chapter 7
_______________________________________       § ________________________________________
JOHN PATRICK LOWE, CHAPTER 7                  §
TRUSTEE FOR CINCH WIRELINE                    §
SERVICES, LLC                                 §
              Plaintiff                       §
                                              §             Adversary 24-05011-cag
v.                                            §
                                              §
CINCH ENERGY SERVICES, LLC;                   §
CINCH INVESTMENT HOLDINGS, LLC;               §
CES GROUP HOLDINGS, LLC; HOOK N               §
BULL PROPERTIES, LLC; LOS CABOS               §
RANCH, LLC; FTS RANCH, LLC; FTSJR             §
HOLDINGS, LLC; WFO HOMES, LLC;                §
TEXAS COAST BUILDERS, LLC; 17                 §
MAIN, LLC; GRANDER HOLDINGS,                  §
LLC; WFO, LLC; PONDER RANCH,                  §
LLC; BL EQUITY HOLDINGS,                      §
LLC; OCEAN FLOOR HOLDINGS, LLC;               §
FRANK THOMAS SHUMATE; MARK                    §
LOPEZ; LORETTA L. HIGGINS;                    §
TIMOTHY GAINES POLLARD; JERRY                 §
MILLER and such other yet unknown             §
Defendants (“JOHN DOE DEFENDANTS”)            §
               Defendants                     §
                                              §

                              FOURTH AMENDED
                         WITNESS AND EXHIBIT LIST OF
                    JOHN PATRICK LOWE, CHAPTER 7 TRUSTEE

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       NOW COMES John Patrick Lowe, Trustee (“Trustee”), the duly appointed and acting Chapter

7 Trustee in the above-captioned bankruptcy case, and hereby files its Third Amended Witness

and Exhibit List to be used in connection with the Wednesday, August 14, 2024 hearing. Trustee

may call the following witnesses and offer the following exhibits:



                                                  1
                                    LIST OF WITNESSES

        1. Frank Thomas Shumate

        2. Loretta Higgins

        3. Timothy Gaines Pollard

        4. Israel Rodriguez

        5. Any witness called by any other creditor, any other party in interest that may appear
           and seek to be heard at the hearing, and any rebuttal witness as may be required.

        6. Any rebuttal witnesses necessary.

                                       LIST OF EXHIBITS

Ex. #                    Description                    Offered   Objection Admitted/ Disposition
                                                                            Not
                                                                            Admitted
1.       Declaration and Proffer of Direct
         Testimony of Shelby A. Jordan [Judicial
         Notice #90-1]
2.       Declaration and Proffer of Direct
         Testimony of Ernest “Butch” Boyd
         [Judicial Notice #90-2]
3.       Photos of 30 boxes from first visit to Cinch
         offices on 4/26/24
4.       Photos of 80 boxes from second visit to
         Cinch offices on 5/7/24
5.       Photos of sever from second visit to Cinch
         offices on 5/7/24
6.       Photos of boxes of laptops and a sever
         from second visit to Cinch offices on
         5/7/24
7.       Commercial Contract for 5821 Agnes
         Street with PMI LLC with a closing date
         of 6/10/24 signed by Pollard
8.       Photo of O’Finan on phone with Shumate
         on first visit to Cinch offices on 4/26/24
9.       Burn Pit (Admitted as Exhibit 1 on 4/19/24
         during Preliminary Injunction Hearing)
10.      Verification signed by Shumate and
         notarized by Mathis from case no. 5:24-cv-
         00319-OLG; Docket #10
11.      Screenshot of Cinch Server Screen
12.      Screenshot of Cinch Server Screen
13.      7/24/24 Letter to Dick Fuqua

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Ex. #                    Description                  Offered    Objection Admitted/ Disposition
                                                                           Not
                                                                           Admitted
14.      First Amended Complaint [Judicial Notice
         Docket #187-1-187-41]
15.      Motion to Enforce Stay Against Simmons
         Bank [Adversary #111]
16.      CES Group Holdings LLC Operating
         Account June 2024 Charter Bank
         Statement
17.      Live Access to Cinch OneDrive
18.      5/2/24 Email from L. Higgins to R. Lee
         Murphy
19.      Hook N Bull LOC Statements – 9.28.18 –
         8.2.24
20.      Hook N Bull 2nd LOC Statements – 2.6.23
         – 8.1.24
21.      Transfers from Lone Star Cement
22.      Photo of CWS Truck - 1
23.      Photo of CWS Truck - 2
24.      Photo of CWS Truck - 3
25.      US DOT Information
26.      6.5.24 Email from L. Higgins to Timothy
         Pollard
27.      Photo of CWS Truck - 4
28.      Banking Transfers Post Petition Summary
         Chart
29.      Photo of CWS Truck - 5
30.      Texas Department of Motor Vehicles
         Required Documents - CWS
31.      3.14.24 Email from L. Higgins to David
         Arnold
32.      7.29.24 Memorandum of Second
         Modification Agreement
33.      May 6, 2024 Letter to Point Energy
         Partners

34.      BCBS Application
35.      Second Lien Deed of Trust
36.      Application for Explosive License or
         Permit
         Any exhibit identified, introduced,
         designated or relied upon by any other
         party.
         Any exhibits necessary for rebuttal or
         impeachment purposes.

        The Trustee reserves the right to amend this Exhibit List and to introduce other exhibits as may

                                                  3
be necessary for impeachment purposes. The Trustee also reserves the right to introduce exhibits
designated by opposing counsel.

Dated: August 13, 2024
                                          Respectfully submitted,

                                          /s/ Butch Boyd
                                          Butch Boyd
                                          State Bar No. 00783694
                                          Butch Boyd Law Firm, P.C.
                                          2905 Sackett Street
                                          Houston, TX 77098
                                          Phone: (713) 589-8477
                                          Fax: (713)589-8563
                                          Email: butchboyd@butchboydlawfirm.com
                                          copy to: katrinaboyd@butchboydlawfirm.com

                                          /s/ Shelby A. Jordan
                                          Shelby A. Jordan
                                          St. Bar No. 11016700; S.D. No. 2195
                                          Antonio Ortiz
                                          St. Bar No. 24074839; SD. No. 1127322
                                          JORDAN& ORTIZ, P.C.
                                          500 N. Shoreline Blvd, Suite 804
                                          Corpus Christi, TX 78401
                                          Telephone:      361.884.5678
                                          Facsimile:      361.888.5555
                                          Email: sjordan@jhwclaw.com
                                                  aortiz@jhwclaw.com
                                          copy to: cmadden@jhwclaw.com

                                          SPECIAL COUNSEL FOR JOHN PATRICK
                                          LOWE, CHAPTER 7 TRUSTEE




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                                  CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the Witness and Exhibit List was served to the below,
by the CM/ECF system or by electronic mail on August 13, 2024:

  Gabi S Canales
  Canales Law Office
  5262 S Staples St.
  Suite 100
                                                                Michael Mendietta
  Corpus Christi, TX 78411                      representing
                                                                (Interested Party)
  361-887-4700
  361-887-4761 (fax)
  gabilaw14@gmail.com
   Assigned: 05/14/2024

  Mitchell Clark
  Law Offices of J. Mitchell Clark
  719 S. Shoreline Boulevard
  Corpus Christi, TX 78401                                      Justin Sprencel
                                                representing
  361-882-1612                                                  (Interested Party)
  361-882-3015 (fax)
  mitchell@hilliard-law.com
   Assigned: 07/22/2024

  Jason Alexander Enright
  Winstead PC
  500 Winstead Building
  2728 N. Harwood Street
                                                                Simmons Bank
  Dallas, TX 75201                              representing
                                                                (Interested Party)
  214-745-5844
  214-745-5390 (fax)
  jenright@winstead.com
    Assigned: 07/25/2024

  Richard L. Fuqua
  Fuqua & Associates, PC
  8558 Katy Freeway
  Suite 119                                                     Loretta L. Higgins
  77024                                                         24030 Tirso River Court
                                                representing
  Houston, TX 77024                                             Katy, TX 77493
  713-960-0277                                                  (Defendant)
  713-960-1064 (fax)
  fuqua@fuqualegal.com
   Assigned: 05/28/2024

  R. Javier Guerra                                              Jerry Miller
                                                representing
  Ray Pena McChristian, PC                                      137 W. Chandler Road


                                                  5
9601 McAllister Freeway, Suite 901                   Sarita, TX 78385
San Antonio, TX 78216                                (Defendant)
(210) 775-3554
(210) 341-3557 (fax)
jguerra@raylaw.com
 Assigned: 05/20/2024

Aaron Matthew Guerrero
Bond Ellis Eppich Schafer Jones LLP
                                                     17 Main, LLC
950 Echo Lane
                                                     c/o Daniel Namvar, Registered
Suite 120
                                                     Agent
Houston, TX 77024                     representing
                                                     9135 Hillsboro Dr
713-335-4838
                                                     Los Angeles, CA 90034
832-740-1411 (fax)
                                                     (Defendant)
aaron.guerrero@bondsellis.com
 Assigned: 04/26/2024

Charles A. Newton
Newtons Law
190 N. Millport Circle                               Mark Lopez
The Woodlands, TX 77382                              52 County Road 2011
                                      representing
281-681-1170                                         Edna, TX 77957
281-901-5631 (fax)                                   (Defendant)
chuck@newtons.law
 Assigned: 05/02/2024

 Assigned: 05/13/2024                                Los Cabos Ranch, LLC
                                                     c/o Paul S Kirklin, Registered
                                                     Agent
                                      representing   12600 N. Featherwood Drive,
                                                     Suite 225,
                                                     Houston, TX 77034
                                                     (Defendant)

Paul W. O'Finan
S M Chaudhry, Esq., Attorney at Law
PLLC
14100 San Pedro Ave, Suite 210                       Frank Thomas Shumate
San Antonio, TX 78232                                6118 King Trail
                                      representing
(210) 646-9400                                       Corpus Christi, TX 78414
(210) 646-0038 (fax)                                 (Defendant)
paul@smcesq.com
 Assigned: 04/24/2024
  TERMINATED: 06/27/2024

 Assigned: 05/08/2024                 representing   Timothy Gaines Pollard


                                       6
                                        2200 County Road 413
                                        McCoy, TX 78113
                                        (Defendant)

                                        WFO Homes, LLC
                                        c/o Tim Pollard, Registered
                                        Agent
                                        146 Motts Parkway
                                        Marion, TX 78124
                                        (Defendant)

                                        WFO, LLC
                                        c/o Tim Pollard, Registered
                                        Agent
                                        146 Motts Parkway
                                        Marion, TX 78124
                                        (Defendant)

Assigned: 05/08/2024                    BL Equity Holdings, LLC
                                        c/o A Registered Agent, Inc
                         representing   8 The Green, Suite A
                                        Dover, DE 19901
                                        (Defendant)

Assigned: 05/08/2024                    CES Group Holdings, LLC
TERMINATED: 06/27/2024                  c/o Frank T. Shumate, Registered
                                        Agent
                         representing
                                        2200 County Road 413
                                        McCoy, TX 78113
                                        (Defendant)

                                        Cinch Energy Services, LLC
                                        Mark Lopez, Registered Agent
                                        1102 S. Second
                                        Ganado, TX 77962
                                        (Defendant)

                                        Cinch Investment Holdings,
                                        LLC
                                        2200 County Road 413
                                        McCoy, TX 78113
                                        (Defendant)

                                        FTS Ranch, LLC
                                        c/o Frank T Shumate Jr.,
                                        Registered Agent
                                        2200 County Road 413

                          7
                                      McCoy, TX 78113
                                      (Defendant)

                                      FTSJR Holdings, LLC
                                      c/o Frank T Shumate, Jr.,
                                      Registered Agent
                                      2200 County Road 413
                                      McCoy, TX 78113
                                      (Defendant)

                                      Grander Holdings, LLC
                                      c/o Frank T Shumate Jr.,
                                      Registered Agent
                                      2200 County Road 413
                                      McCoy, TX 78113
                                      (Defendant)

                                      Hook N Bull Properties, LLC
                                      c/o Frank T. Shumate, Jr.
                                      Registered Agent
                                      2200 County Road 413
                                      McCoy, TX 78113
                                      (Defendant)

                                      Ocean Floor Holdings, LLC
                                      c/o A Registered Agent, Inc.
                                      8 The Green, Suite A
                                      Dover, DE 19901
                                      (Defendant)

                                      Ponder Ranch, LLC
                                      c/o Frank T Shumate Jr.,
                                      Registered Agent
                                      2200 County Road 413
                                      McCoy, TX 78113
                                      (Defendant)

                                      Texas Coast Builders, LLC
                                      c/o Frank T Shumate Jr.,
                                      Registered Agent
                                      2200 County Road 413
                                      McCoy, TX 78113
                                      (Defendant)

Jameson Joseph Watts                  CES Group Holdings, LLC
Husch Blackwell LLP    representing   c/o Frank T. Shumate, Registered
111 Congress                          Agent

                        8
Suite 1400                             2200 County Road 413
Austin, TX 78701                       McCoy, TX 78113
512-479-1179                           (Defendant)
512-479-1101 (fax)
jameson.watts@huschblackwell.com
  Assigned: 06/03/2024

                                       Cinch Energy Services, LLC
                                       Mark Lopez, Registered Agent
                                       1102 S. Second
                                       Ganado, TX 77962
                                       (Defendant)

                                       Cinch Investment Holdings,
                                       LLC
                                       2200 County Road 413
                                       McCoy, TX 78113
                                       (Defendant)

                                       FTS Ranch, LLC
                                       c/o Frank T Shumate Jr.,
                                       Registered Agent
                                       2200 County Road 413
                                       McCoy, TX 78113
                                       (Defendant)

                                       FTSJR Holdings, LLC
                                       c/o Frank T Shumate, Jr.,
                                       Registered Agent
                                       2200 County Road 413
                                       McCoy, TX 78113
                                       (Defendant)

                                       Frank Thomas Shumate
                                       6118 King Trail
                                       Corpus Christi, TX 78414
                                       (Defendant)

                                       Grander Holdings, LLC
                                       c/o Frank T Shumate Jr.,
                                       Registered Agent
                                       2200 County Road 413
                                       McCoy, TX 78113
                                       (Defendant)

                                       Hook N Bull Properties, LLC
                                       c/o Frank T. Shumate, Jr.,

                                   9
             Registered Agent
             2200 County Road 413
             McCoy, TX 78113
             (Defendant)

             Ocean Floor Holdings, LLC
             c/o A Registered Agent, Inc.
             8 The Green, Suite A
             Dover, DE 19901
             (Defendant)

             Ponder Ranch, LLC
             c/o Frank T Shumate Jr.,
             Registered Agent
             2200 County Road 413
             McCoy, TX 78113
             (Defendant)

             Texas Coast Builders, LLC
             c/o Frank T Shumate Jr.,
             Registered Agent
             2200 County Road 413
             McCoy, TX 78113
             (Defendant)

             WFO Homes, LLC
             c/o Tim Pollard, Registered
             Agent
             146 Motts Parkway
             Marion, TX 78124
             (Defendant)


     /s/ Butch Boyd
     Butch Boyd




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